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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

MALEEHA AHMAD, et al.,                     )
                                           )
            Plaintiffs,                    )
                                           )
      vs.                                  )         Case No. 4:17 CV 2455 CDP
                                           )
CITY OF ST. LOUIS, MISSOURI,               )
                                           )
            Defendant.                     )

                     ORDER OF PRELIMINARY INJUNCTION

       In accordance with the Memorandum and Order issued this same date,

       IT IS HEREBY ORDERED that defendant City of St. Louis and its agents,

servants, employees, and representatives will not enforce any rule, policy, or

practice that grants law enforcement officials the authority or discretion to:

       1) Declare an unlawful assembly under St. Louis Code of Ords. §15.52.010

when the persons against whom it would be enforced are engaged in expressive

activity, unless the persons are acting in concert to pose an imminent threat to use

force or violence or to violate a criminal law with force or violence;

       2) Declare an unlawful assembly under St. Louis Code of Ords. §15.52.010

or enforce St. Louis Code of Ords. §17.16.275(A) and (E) for the purpose of

punishing persons for exercising their constitutional rights to engage in expressive

activity;
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      3) Use chemical agents, including, but not limited to, mace/oleoresin

capsicum spray or mist/pepper spray/pepper gas, tear gas, skunk, inert smoke,

pepper pellets, xylyl bromide, and similar substances (collectively “chemical

agents”), whatever the method of deployment, against any person engaged in

expressive, non-violent activity in the City of St. Louis, in the absence of probable

cause to arrest the person and without first issuing clear and unambiguous

warnings that the person is subject to arrest and such chemical agents will be used

and providing the person sufficient opportunity to heed the warnings and comply

with lawful law enforcement commands or as authorized in paragraph 5 below;

      4) Use or threaten to use chemical agents, whatever the method of

deployment , against any person engaged in expressive, non-violent activity in the

City of St. Louis, for the purpose of punishing the person for exercising

constitutional rights; and

      5) Issue orders or use chemical agents, whatever the method of deployment,

for the purpose of dispersing person(s) engaged in expressive, non-violent activity

in the City of St. Louis without first: specifying with reasonable particularity the

area from which dispersal is ordered; issuing audible and unambiguous orders in a

manner designed to notify all persons within the area that dispersal is required and

providing sufficient warnings of the consequences of failing to disperse, including,

where applicable, that chemical agents will be used; providing a sufficient and



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announced amount of time which is proximately related to the issuance of the

dispersal order in which to heed the warnings and exit the area; and announcing

and ensuring a means of safe egress from the area that is actually available to all

person(s);

      Provided, however, that paragraphs (3) and (5) above do not apply to

situations where persons at the scene present an imminent threat of violence or

bodily harm to persons or damage to property, or where law enforcement officials

must defend themselves or other persons or property against imminent threat of

violence.

      IT IS FURTHER ORDERED that this preliminary injunction becomes

effective upon plaintiffs’ posting security in the amount of $100 with the Clerk of

Court, and remains in effect until further order of this Court.




                                        CATHERINE D. PERRY
                                        UNITED STATES DISTRICT JUDGE

Dated this 15th day of November, 2017.




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